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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO. 20-CV-24251-PCH

   EDDIE I. SIERRA,

         Plaintiff,

   v.
                                                                                             CLOSED
   AMERICAN HONDA MOTOR COMPANY,
                                                                                              CIVIL
   INC.,
                                                                                              CASE
         Defendant.
                                                          /

                          ORDER DISMISSING WITHOUT PREJUDICE
         The matter before the Court is sua sponte. For the following reasons, Plaintiff Eddie I. Sierra’s
  complaint is dismissed without prejudice.
         Plaintiff Sierra filed his complaint on October 16, 2020, and sued Defendant American Honda
  Motor Company, Inc. (“Defendant American Honda”). [ECF No. 1]. Before June 2021, Defendant
  American Honda had not been served. On June 23, 2021, the Court ordered Plaintiff Sierra to show
  “good cause for the failure” to serve Defendant American Honda, else the Court would dismiss his
  complaint without prejudice. [ECF No. 10] (citing Fed. R. Civ. P. 4(m)). The Court gave Plaintiff
  Sierra until July 2, 2021, to show good cause. Plaintiff Sierra has not responded to the Court’s order.
  Therefore, the Court dismisses Plaintiff Sierra’s complaint without prejudice. Accordingly, it is
         ORDERED that Plaintiff Eddie I. Sierra’s complaint [ECF No. 1] is DISMISSED
  WITHOUT PREJUDICE. The Clerk of Court SHALL close this case. Any pending motions are
  DENIED AS MOOT.
         DONE AND ORDERED in Chambers, Miami, Florida, on July 19, 2021.




                                                 _________________________________
                                                 PAUL HUCK
                                                 UNITED STATES DISTRICT JUDGE

  cc: All counsel of record
